Case 2:04-CV-02830-BBD-tmp Document 3 Filed 06/17/05 Page 1 of 2 Page|D 1

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IN THE UNITED sTATL-:s DISTRICT coURTF“£D B' ‘D

FOR THE wEsTERN DISTRICT oF TENNESSEE _30
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UNITED STATES OF AMERICA,
Plaintiff,

Cv. No. O4-2830-D/P ///
Cr. No. 99-20244-04-(G)D

VS.
MICHAEL BROWN,

Defendant.

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ORDER DIRECTING UNITED STATES TO RESPOND

 

On November 15, 2004, defendant Michael Brownr Bureau of
Prisons inmate registration number 17083-076, an inmate at the
United States Penitentiary-Lee County in Jonesville, Virginia,
filed a pro §§ motion pursuant to 28 U.S.C. § 2255.

It is ORDERED that the United States file a response to
the motion within twenty»three days from the date of this order.

The Clerk shall provide a copy of the original and
amended motions in this cause and this order to the United States
Attorney for the Western District of Tennessee.

IT Is so oRDERED this {Zf"* day of June, 2005.

 

ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02830 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

Michael Brown
USP-LEE COUNTY
17083-076

P.O. BOX 305
Jonesville, VA 24263

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

